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                 1916-CV31081 - TREVOR BASTON V SAINT LUKES PHYSICIAN GROUP ET
                                           AL (E-CASE)


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01/27/2020            Proposed Order Filed
                      No Longer an Issue

12/17/2019            Case Mgmt Conf Scheduled
                        Scheduled For: 02/19/2020; 1:30 PM ; GEORGE EDGAR WOLF; Jackson - Kansas City
                      Notice of Hearing Filed
                      Notice of Case Management Conference

12/09/2019            Correspondence Sent
                      Letter to attorney need new MSPOS

12/02/2019            Motion Special Process Server
                      Motion for Special Process Server; Electronic Filing Certificate of Service.
                        Filed By: SARAH LIESEN
                        On Behalf Of: TREVOR BASTON

11/21/2019            Correspondence Sent
                      Letter to attorney need MSPOS

11/14/2019            Request for Jury Trial Filed
                      Filing Info Sheet eFiling
                          Filed By: ALEXANDER EDELMAN
                      Note to Clerk eFiling
                        Filed By: ALEXANDER EDELMAN
                      Pet Filed in Circuit Ct
                      Petition for Damages; Ex A -- Charge of Discrimination; Ex B -- Charge of Discrimination; Ex C -- Right to
                      Sue; Ex D -- Right to Sue; Ex E -- Right to Sue.
                         On Behalf Of: TREVOR BASTON
                      Judge Assigned
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https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                              2/11/2020
                                                                                              Electronically Filed - Jackson - Kansas City - November 14, 2019 - 10:22 PM
                                                                           1916-CV31081
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                          AT KANSAS CITY, MISSOURI


TREVOR BASTON                                        )
                              Plaintiff,             )
v.                                                   )
                                                     )
ST. LUKES PHYSICIAN GROUP, INC.                      )
CSC-LAWYERS INCORPORATING                            )
SERVICE COMPANY                                      )
221 Bolivar Street                                   )
Jefferson City, MO 65101                             )
                                                     )
                                                     )        Case No.
                              AND                    )
                                                     )
SAINT LUKE'S HEALTH SYSTEM, INC.                     )
CSC-LAWYERS INCORPORATING                            )
SERVICE COMPANY                                      )
221 Bolivar Street                                   )
Jefferson City, MO 65101                             )
                                                     )        REQUEST FOR JURY TRIAL
                                                     )
                                                     )
                              Defendant.             )


                                 PETITION FOR DAMAGES

       COMES NOW, Plaintiff Trevor Baston (hereinafter “Plaintiff”) by and through his

undersigned counsel and for his Petition for Damages against Defendant St. Luke’s Physician

Group, Inc. (hereinafter “Defendant St. Luke’s Physician Group”) and Defendant Saint Luke’s

Health System, Inc. (hereinafter “Defendant Saint Luke’s Health System”) (hereinafter,

collectively, “Defendants”), alleges and states as follows:

                                           Table of Claims

CLAIM                                           CASE TYPE                PAGE NO.

I. Race Discrimination, MHRA                         TJ                       12

II. Color Discrimination, MHRA                       TJ                       13



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III. Retaliation, MHRA                                 TJ                          14

IV. Sex Discrimination, MHRA                           TJ                          16

V. Race Discrimination, Title VII                      TJ                          17

VI. Color Discrimination, Title VII                    TJ                          19

VII. Retaliation, Title VII                            TJ                          20

VIII. Sex Discrimination, Title VII                    TJ                          21


                                             Parties

       1.      Plaintiff is a citizen of the United States, residing in Kansas City, Jackson County

Missouri.

       2.      Defendant St. Luke’s Physician Group is, and at all times pertinent to this Petition

was, a domestic nonprofit corporation incorporated in Missouri.

       3.      Defendant Saint Luke’s Health System, Inc. is, and at all times pertinent to this

Petition was, a foreign nonprofit corporation with a home state of Kansas and which operated

under the laws of, and was registered with, the State of Missouri.

                                        Jurisdiction and Venue

       4.      This is a discrimination and retaliation lawsuit based upon and arising under the

Missouri Human Rights Act, Mo. Rev. Stat. § 213.010 et seq. (“MHRA”) and Title VII of the

Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. (“Title VII”).

       5.      This Court has jurisdiction and venue over all factual and legal matters relevant to

this cause of action.

       6.      The unlawful acts and practices set forth below were committed within Jackson

County, Missouri.

       7.      Plaintiff was an employee of Defendant St. Luke’s Physician Group and

Defendant Saint Luke’s Health System, Inc. within the meaning of MHRA and Title VII.


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        8.       Defendant St. Luke’s Physician Group is an “employer” within the meaning of

the MHRA and Title VII.

        9.       Defendant Saint Luke’s Health System, Inc. is an “employer” within the meaning

of the MHRA and Title VII.

        10.      At all relevant times, Defendant St. Luke’s Physician Group has maintained and

operated a place of business in various cities within the State of Missouri.

        11.      At all relevant times, Defendant Saint Luke’s Health System, Inc. has maintained

and operated a place of business in Kansas City, Jackson County, Missouri.

        12.      At all relevant times, the location where the high-level officers of Defendant Saint

Luke’s Health System, Inc. direct, control, and coordinate its activities is located in Kansas City,

Jackson County, Missouri.

        13.      Jurisdiction and venue are proper in Jackson County, Missouri, pursuant to Mo.

Rev. Stat. §§ 508.010 and 213.111(1), (2).

                       Administrative Procedure and Procedural Posture

        14.      On or about March 18, 2019, Plaintiff timely filed a Charge of Discrimination

against Defendants with the Missouri Commission on Human Rights (“MCHR”) and the Equal

Employment Opportunity Commission (“EEOC”) alleging race and color discrimination, sex

discrimination and retaliation. (Attached hereto as Exhibit A and incorporated herein by

reference as if fully set forth herein).

        15.      On or about August 16, 2019, Plaintiff filed a second charge of discrimination

with the EEOC and the MCHR alleging race and color discrimination, sex discrimination and

retaliation. (Attached hereto as Exhibit B and incorporated herein by reference as if fully set

forth herein).




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        16.     On or about, August 16, 2019, the EEOC issued to Plaintiff a Notice of Right to

Sue (Attached hereto as Exhibit C and incorporated herein by reference as if fully set forth

herein).

        17.      On or about September 16, 2019, the Missouri Commission on Human Rights

(“MCHR”) issued to Plaintiff a Notice of Right to Sue (Attached hereto as Exhibit D and

incorporated herein by reference as if fully set forth herein).

        18.     On or about September 11, 2019, the EEOC issued to Plaintiff a Notice of Right

to Sue. (Attached hereto as Exhibit E and incorporated herein by reference as if fully set forth

herein).

        19.     The aforesaid Charges of Discrimination provided the EEOC and MCHR

sufficient opportunity to investigate the full scope of the controversy between the parties and,

accordingly, the sweep of this judicial complaint may be and is as broad as the scope of the

EEOC and MCHR investigation of Plaintiff’ claims and the involved parties, which could

reasonably be expected to have grown out of the Charge of Discrimination.

        20.      Through the filing of Plaintiff’ Charges of Discrimination, Defendants were

afforded notice of Plaintiff’s claims and the opportunity to participate in voluntary compliance.

        21.      Plaintiff has satisfied all private, administrative and judicial prerequisites to the

institution of this action.

                              General Allegations Common to All Counts

        22.     Plaintiff is African American.

        23.     Plaintiff is male.

        24.     Plaintiff’s skin color is darker than that of many African Americans.

        25.     Plaintiff began employment with Defendants on or about May 29, 2017 as a

medical assistant.



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        26.    Plaintiff did not have any issue with his employment until approximately August

of 2017 when Lynsey Magner became his manager.

        27.    After Magner became his manager, Plaintiff was been subjected to severe and

pervasive harassment because of his race, color, and sex.

        28.    While she was his supervisor, Magner consistently told Plaintiff to put his cell

phone away, even when it was sitting on the desk and not being used by Plaintiff, but Magner

would watch videos and look at Facebook picture on the phones of other employees who were

Caucasian.

        29.    Magner also told another African American employee, Tina, to put her cell phone

away.

        30.    Plaintiff asked Magner why she came to his desk and asked him to put his phone

away but watched videos with other employees who were Caucasian.

        31.    Magner just shook her head and walked away without answering his question.

        32.    About a month after this, Magner gave Plaintiff a bad review which prevented

him from getting a raise.

        33.    Upon information and belief, Magner gave Plaintiff the bad review not because of

his performance, but because of Plaintiff’s race and because of his complaint of discrimination.

        34.    Plaintiff made a complaint about this discriminatory action and his review was

changed, but only after raises were already given out, so Plaintiff still did not receive a raise.

        35.    In or around June of 2018, Magner gave Plaintiff a final written warning for

accessing his own medical records.

        36.    Plaintiff informed Magner that Plaintiff did not recall doing that and she told him

that compliance said it happened.




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       37.     Plaintiff has seen two other employees, Christi and Jennifer, who are both

Caucasian who are supervised by Magner, access their own medical records.

       38.     Upon information and belief, neither Christi nor Jennifer were given a final

written warning by Magner .

       39.     When Plaintiff told Magner that Plaintiff had seen these other employees access

their records before she told him that it was a random audit.

       40.     Around August 2018, Plaintiff reported in a survey that he felt there were racial

inequalities at the office and that he believed Defendants needed to have a diversity training.

       41.     Plaintiff also told Magner before Plaintiff went out on shoulder surgery, around

September of 2018, that Plaintiff felt there was some racial inequality and Plaintiff needed to

discuss it with Magner when Plaintiff got back from surgery.

       42.     When Plaintiff returned from surgery in December of 2018, Magner was no

longer in his department and had been moved to another position.

       43.     In January 2019, Plaintiff was also harassed by another employee, Jill Strauser,

who repeatedly called Plaintiff “boy.”

       44.     Plaintiff explained to her that referring to a black man as “boy” is offensive and

asked her to please call him by his name. Strauser responded “you don’t know what you are

talking about boy, be quiet boy.”

       45.     Strauser continuing to say this repeatedly after Plaintiff had asked her not to,

made it clear to Plaintiff that Strauser was doing this on purpose to create a racially hostile

environment.

       46.     Plaintiff reported this to his manager, Carol Everett and Plaintiff said he did not

appreciate being called “boy” and explained to her how this was offensive to an African

American man.



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        47.    Everett said Plaintiff was looking at it incorrectly and that Strauser did not mean

that.

        48.    Plaintiff told Everett he felt like it was racially harassing but Everett said that

there was nothing she could do about it.

        49.    Defendants never took any actions to address the racial harassment to which

Plaintiff was being subjected.

        50.    Around February of 2018, there was bad weather, and several people did not

come in to work because of this.

        51.    Plaintiff’s door locks were frozen shut and Everett sent an email to everyone at

the office stating that Plaintiff was not coming in to work because of his door locks.

        52.    Everett did not write the reason the Caucasian employees who called in to work

were not coming in to work.

        53.    When Plaintiff came in the next day, the Caucasian front desk employee, Cama

Banawart, mocked him about this saying “I can’t believe you could not get your doors unlocked,

you are such a pansy.”

        54.    Plaintiff told her this was no appropriate to say, but she responded again “you are

a pansy.”

        55.    Plaintiff reported to Everett that he felt like this was inappropriate.

        56.    Everett said that Banawart said she did not make this comment and Defendants

did nothing to address this hostile work environment.

        57.    Plaintiff also witnessed Banawart call another African American employee a

racially offensive term, “Aunt Jemima,” and the employee reported this but Defendants did

nothing to address the racially hostile work environment.




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        58.    In March of 2019, Tara Collins, a Caucasian nurse practitioner, repeatedly

degraded Plaintiff, stating Plaintiff could not do his job and stated Plaintiff did not know what

Plaintiff was talking about when he was training a new employee.

        59.     The next day, Collins came up to Plaintiff while he was training a new employee

on the computer, stuck a container of urine in his face and said, “take this downstairs.”

        60.    Collins had no gloves on and there was no protective covering on the urine which

was against policy.

        61.    Personal protective equipment, or PPE, was required when dealing with “labs”

such as the urine sample Collins was attempting to hand to Plainitiff.

        62.    Also, medical assistants do not deal with labs and do not have the proper training

or certification to handle urine labs.

        63.    During his employment, Plaintiff had never handled a lab.

        64.    Plaintiff told Collins that only certified lab techs and phlebotomists were

authorized to handle labs.

        65.    Collins began yelling at Plaintiff and stated that Plaintiff did not know what he

was talking about.

        66.    Plaintiff reported this harassment to Everett but Defendants did nothing          to

address it.

        67.    About three days after this incident, Collins came to Plaintiff and said the picture

in the chart of a patient was “creeping her out” and asked Plaintiff to stand in the room with her

while she was with that patient.

        68.    When Plaintiff met the patient, Plaintiff did not see anything “creepy” about him

and Plaintiff was surprised by Collins description.




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        69.     The patient was an African American man about Plaintiff’s height and weight and

Plaintiff’s interaction with the patient was completely normal.

        70.     Plaintiff noticed that Collins finished interacting with the patient more quickly

than any patient Plaintiff had ever seen her interact with.

        71.     After the patient left Collins told Plaintiff “thank you for standing in the room

with me” and said “sometimes I am afraid of big black men especially ones that look like the guy

that killed my brother.”

        72.     Plaintiff asked Collins if she realized Plaintiff was a big black man.

        73.     Plaintiff asked Collins if Plaintiff scared her because he was about the same

height, weight and skin tone as the patient and Plaintiff asked her if that was the reason she had

been degrading him.

        74.     Collins did not answer Plaintiffs question, she shushed him and walked away.

        75.     After this, Plaintiff went to Everett’s office and told her what Collins had said to

him and that Plaintiff was very offended by this.

        76.     Everett asked Plaintiff “what do you want us to do about it?”

        77.     Plaintiff told Everett that Plaintiff kept making complaints and nothing was

happening, and that Everett was not getting back to him about these complaints.

        78.     Plaintiff told Everett that he could not bear the racially hostile environment any

longer, and that this was the last straw and Plaintiff felt like he had no choice but to file a

complaint with the EEOC.

        79.     Everett told Plaintiff to keep this quiet, not tell anyone what was going on, and to

just talk to Collins about the situation.

        80.     Plaintiff tried talking to Collins about this and she told him that we have jobs to

do and she did not have time to speak to him.



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       81.     Plaintiff informed Everett that it did not work to talk to Collins and he moved

forward with filing a charge of discrimination with the EEOC and MCHR on March 18, 2019.

       82.     After Plaintiff filed the charge of discrimination, three employees showed him an

email about his charge and asked him if it was real and what it was about.

       83.     Plaintiff went to Everett and informed her that people were asking him about the

charge of discrimination.

       84.     Plaintiff reminded Everett that she had told him to be quiet about it and asked

why people were asking him about his charge.

       85.     Everett responded “they weren’t supposed to show you that.”

       86.     After Plaintiff filed his charge of discrimination, Plaintiff noticed Everett began

following him around at work.

       87.     Once, Plaintiff went into a room and went right back out because he forgot

something, and Plaintiff saw Everett standing right against the door.

       88.     Plaintiff asked Everett if she was ok and she said, “I’m not following you

around.”

       89.     Plaintiff responded, “I didn’t ask if you were following me, I asked if you were

ok.”

       90.     After he filed his charge of discrimination, Plaintiff also saw Everett hiding

behind doors and peaking around to see what Plaintiff was doing in the room.

       91.     Plaintiff did not see Everett do this to anyone else.

       92.     Nurses also commented on Everett following Plaintiff and asked what was going

on and why she was doing this.

       93.     On July 19, 2019 Everett was following Plaintiff and at one point blocked the

door and was trying to see around him.



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        94.     Plaintiff told her “excuse me” and said he needed to get a patient.

        95.     After Everett went back to her office, Plaintiff knocked on her door and told her it

felt like Everett was following him around the workplace.

        96.     Everett shook her head and said “no” and Plaintiff went to get his patient.

        97.     After that she did not follow Plaintiff around again that day.

        98.     On July 23, 2019 Everett told Plaintiff she needed to observe him.

        99.     Plaintiff had not seen Everett conduct an observation with other employees.

        100.    Plaintiff noticed later that Everett put notes in his file that Plaintiff was not

reviewing medications properly and this was dated July 19, 2019 which was the day Everett was

following Plaintiff and he addressed it with her.

        101.    Also, on the 19th of July, Plaintiff’s phone was sitting on the desk and Plaintiff

was not touching it.

        102.    Everett came up to Plaintiff and told him to put it away.

        103.    Plaintiff told her two other Caucasian employees had their phone out but Everett

said she did not see them do this.

        104.    Everett was trying to find a reason to discipline or terminate Plaintiff because of

his race and because of his complaints of discrimination and charge of discrimination filed with

the MCHR/EEOC.

        105.    On July 26, 2019, Everett stood at Plaintiff’s desk waiting for him to come in to

see if Plaintiff was arriving late.

        106.    Everett looked at her watch when Plaintiff came in, despite the fact that Plaintiff

was not late.

        107.    Everett continued to follow Plaintiff around, asking him what he was doing and

when Plaintiff told her he was cleaning a room she asked, “why are you doing it so fast?”



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        108.    Plaintiff told her he always did to keep the clinic moving.

        109.    Around the end of July 2019, Defendants held an unconscious bias training and at

the end of the training, Everett’s manager was present and stood up and said “what I want you all

to do is just get over it and let the past be the past.”

        110.    Plaintiff understood this comment to be directed at him and another African

American employee for making complaints of discrimination.

        111.    This treatment caused Plaintiff to have to take medical leave because of the stress

and anxiety it caused him.

        112.    While Plaintiff was out on medical leave, he was informed that his position would

not be held for him and someone else would be hired to the position.

                                    COUNT I
  RSMo. § 213.010 et seq. DISCRIMINATION BASED ON RACE UNDER THE MHRA

        113.    Plaintiff re-alleges and incorporates the allegations contained in above-paragraphs

as if fully set forth herein.

        114.    Plaintiff was discriminated against by Defendants because he is African-

American.

        115.    Defendants continuously critiqued, humiliated and terminated Plaintiff because of

his race.

        116.    Plaintiff’s race was a motivating factor in this discrimination.

        117.    All actions or inactions of or by Defendants occurred by or through their owners,

agents, servants, or employees acting within the course and scope of their employment, as set

forth herein.

        118.    Defendants’ actions constitute unlawful employment discrimination against

Plaintiff in violation of the MHRA, RSMo. § 213.010 et seq., as alleged herein.




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        119.   As a direct result of the unlawful conduct of Defendants, as set forth herein,

Plaintiff has suffered damages which include garden variety emotional distress, past and future

wages and benefits, career damage and diminished career potential, mental distress in the form of

embarrassment, degradation, humiliation, anxiety, loss of enjoyment of life, loss of sleep, and

other non-pecuniary losses.

        120.   The conduct of Defendants was outrageous and evidenced an evil motive or

reckless indifference for the rights of Plaintiff and the rights of others, entitling Plaintiff to an

award of punitive damages.

        121.   Plaintiff is entitled to recover all of his costs, expenses, expert witness fees, and

attorneys’ fees incurred in this matter.

        WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and severally, for

actual, compensatory, and punitive damages, all costs, expenses, and attorneys’ fees incurred

herein, for reinstatement and appropriate equitable relief, for interest at the highest lawful rate,

and for such other relief as the Court deems just and proper.

                                   COUNT II
 RSMo. § 213.010 et seq. DISCRIMINATION BASED ON COLOR UNDER THE MHRA

        122.   Plaintiff re-alleges and incorporates herein by reference, as though fully set forth

herein, all of the above numbered paragraphs.

        123.    Plaintiff was discriminated against by Defendants because of the color of his

skin.

        124.   Defendants continuously critiqued and humiliated Plaintiff because of the color of

his skin.

        125.   The color of Plaintiff’s skin was a motivating factor in his employment ending

with Defendants.




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       126.     All actions or inactions of or by Defendants occurred by or through their owners,

agents, servants, or employees acting within the course and scope of their employment, as set

forth herein.

       127.     Defendants’ actions constitute unlawful employment discrimination against

Plaintiff in violation of the MHRA, RSMo. § 213.010 et seq., as alleged herein.

       128.     As a direct result of the unlawful conduct of Defendants, as set forth herein,

Plaintiff has suffered damages which include garden variety emotional distress, past and future

wages and benefits, career damage and diminished career potential, mental distress in the form of

embarrassment, degradation, humiliation, anxiety, loss of enjoyment of life, loss of sleep, and

other non-pecuniary losses.

       129.     The conduct of Defendants was outrageous and evidenced an evil motive or

reckless indifference for the rights of Plaintiff and the rights of others, entitling Plaintiff to an

award of punitive damages.

       130.     Plaintiff is entitled to recover all of his costs, expenses, expert witness fees, and

attorneys’ fees incurred in this matter.

       WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and severally, for

actual, compensatory, and punitive damages, all costs, expenses, and attorneys’ fees incurred

herein, for reinstatement and appropriate equitable relief, for interest at the highest lawful rate,

and for such other relief as the Court deems just and proper.

                                         COUNT III
                RSMo. § 213.010 et seq. RETALIATION UNDER THE MHRA

       131.     Plaintiff re-alleges and incorporates herein by reference, as though fully set forth

herein, all of the above numbered paragraphs.

       132.     Plaintiff is a member of a protected class because of his race, African-American.

       133.     Plaintiff is a member of a protected class because of the color of his skin.


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       134.     Plaintiff complained of and opposed discriminatory treatment by reporting

discriminatory treatment and remarks to his supervisors and informing Defendants of

inappropriate and harassing conduct.

       135.     Plaintiff complained of and opposed discriminatory treatment when he reported to

Defendants the comments and treatment.

       136.     Plaintiff opposed discrimination and participated in an investigation conducted

pursuant to Chapter 213 of the Revised Statutes of Missouri when he filed a charge of

discrimination with the MCHR.

       137.     Defendants took adverse actions against Plaintiff as a result of his engaging in the

aforementioned protected activity, including harassing and terminating Plaintiff.

       138.     The aforementioned protected actions were the motivating factor in the adverse

job actions again and termination of Plaintiff.

       139.     All actions or inactions of or by Defendants occurred by or through their owners,

agents, servants, or employees acting within the course and scope of their employment, as set

forth herein.

       140.     Defendants’ actions constitute unlawful employment discrimination against

Plaintiff in violation of the MHRA, RSMo. § 213.010 et seq., as alleged herein.

       141.     As a direct result of the unlawful conduct of Defendants, as set forth herein,

Plaintiff has suffered damages which include garden variety emotional distress, past and future

wages and benefits, career damage and diminished career potential, mental distress in the form of

embarrassment, degradation, humiliation, anxiety, loss of enjoyment of life, loss of sleep, and

other non-pecuniary losses.




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       142.     The conduct of Defendants was outrageous and evidenced an evil motive or

reckless indifference for the rights of Plaintiff and the rights of others, entitling Plaintiff to an

award of punitive damages.

       143.     Plaintiff is entitled to recover all of his costs, expenses, expert witness fees, and

attorneys’ fees incurred in this matter.

       WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and severally, for

actual, compensatory, and punitive damages, all costs, expenses, and attorneys’ fees incurred

herein, for reinstatement and appropriate equitable relief, for interest at the highest lawful rate,

and for such other relief as the Court deems just and proper.

                                    COUNT IV
   RSMo. § 213.010 et seq. DISCRIMINATION BASED ON SEX UNDER THE MHRA

       144.     Plaintiff re-alleges and incorporates by reference the allegations contained in the

above-paragraphs as if fully set forth herein.

       145.     During Plaintiff’s employment with Defendant, Plaintiff was subjected to

different terms and conditions of employment based on his sex, male, by Defendant, including

by his supervisors and co-workers.

       146.     Upon information and belief, Plaintiff’s sex was a motivating factor in his

harassment and in the termination of his employment with Defendant.

       147.     All actions or inactions of or by Defendant occurred by or through its owners,

agents, servants, or employees acting within the course and scope of their employment, as set

forth herein.

       148.     Defendant’s actions constitute unlawful employment discrimination against

Plaintiff in violation of the MHRA, RSMo. § 213.010 et seq., as alleged herein.

       149.     As a direct and proximate result of the unlawful conduct of Defendant as set forth

herein, Plaintiff has suffered damages which include garden variety emotional distress, past and


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future wages and benefits, career damage and diminished career potential, mental distress in the

form of embarrassment, degradation, humiliation, anxiety, loss of enjoyment of life, loss of

sleep, and other non-pecuniary losses.

       150.    The conduct of Defendant was outrageous and evidenced an evil motive or

reckless indifference for the rights of Plaintiff and the rights of others, entitling Plaintiff to an

award of punitive damages.

       151.    Plaintiff is also entitled to recover all her costs, expenses, expert witness fees, and

attorneys’ fees incurred in this matter.

       WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and severally, for

actual, compensatory, and punitive damages, all costs, expenses, and attorneys’ fees incurred

herein, for reinstatement and appropriate equitable relief, for interest at the highest lawful rate,

and for such other relief as the Court deems just and proper.

                                      COUNT V
 42 U.S.C. § 2000e et seq. DISPARATE TREATMENT AND HARASSMENT BASED ON
                           RACE IN VIOLATION OF TITLE VII

       152.    Plaintiff hereby re-alleges and incorporate by reference the allegations contained

in the above-stated paragraphs as if fully set forth herein.

       153.    During Plaintiff’s employment with Defendants, Plaintiff was subjected to

different terms and conditions of employment and an ongoing practice and/or pattern of

discrimination/disparate treatment and harassment based on his race, African-American, by

Defendants.

       154.    Plaintiff was subjected to different work requirements than other similarly

situated Caucasian employees in regard to the terms and conditions of his employment.

       155.    Plaintiffs race, African-American, was a motivating factor in Defendants’

decision to suspend Plaintiff’s employment.



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          156.   Plaintiffs race, African-American, was a motivating factor in Defendants’

decision to terminate Plaintiff’s employment.

          157.   Defendants’ actions and/or omissions constitute a pattern or practice of

discriminatory and retaliatory behavior.

          158.   All actions or inactions of or by Defendants occurred by or through their agents,

servants, or employees acting within the course and scope of their employment, as set forth

herein.

          159.   Defendants’ actions constitute unlawful employment discrimination against

Plaintiff in violation of Title VII, as alleged herein.

          160.   As a direct and proximate result of the unlawful conduct of Defendants as set

forth herein, Plaintiff has suffered damages which include emotional distress, pain and suffering,

past and future wages and benefits, career damage and diminished career potential, mental

distress in the form of embarrassment, degradation and humiliation, increased anxiety, increased

difficulty sleeping, loss of enjoyment of life, and other nonpecuniary losses.

          161.   The conduct of Defendants was outrageous and evidences an evil motive or

reckless indifference for the rights of Plaintiff and the rights of others, entitling Plaintiff to an

award of punitive damages.

          WHEREFORE, Plaintiff requests that the Court enter judgment in his favor and against

the Defendants for economic damages, including, but not limited to: back pay, lost benefits, and

front pay, injunctive relief, compensatory damages, punitive damages, for reasonable attorneys’

fees and costs incurred herein, for pre- and post-judgment interest as allowed by law, and for

such other and further legal and equitable relief as this Court deems just and proper.




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                                                                                                      Electronically Filed - Jackson - Kansas City - November 14, 2019 - 10:22 PM
                                     COUNT VI
  42 U.S.C.A. § 2000e et seq. DISPARATE TREATMENT AND HARASSMENT BASED
                      ON COLOR IN VIOLATION OF TITLE VII

          162.   Plaintiff hereby re-alleges and incorporate by reference the allegations contained

in the above-stated paragraphs as if fully set forth herein.

          163.   During Plaintiff’s employment with Defendants, Plaintiff was subjected to

different terms and conditions of employment and an ongoing practice and/or pattern of

discrimination/disparate treatment and harassment based on his color, dark skinned, by

Defendants.

          164.   Plaintiff was subjected to different work requirements than other similarly

situated light skinned employees in regard to the terms and conditions of his employment.


          165.   Plaintiff’s color was a motivating factor in Defendants’ decision to suspend

Plaintiff’s employment.

          166.   Plaintiff’s color was a motivating factor in Defendants’ decision to terminate

Plaintiff’s employment.

          167.   Defendants’ actions and/or omissions constitute a pattern or practice of

discriminatory and retaliatory behavior.

          168.   All actions or inactions of or by Defendants occurred by or through their agents,

servants, or employees acting within the course and scope of their employment, as set forth

herein.

          169.   Defendants’ actions constitute unlawful employment discrimination against

Plaintiff in violation of Title VII, as alleged herein.

          170.   As a direct and proximate result of the unlawful conduct of Defendants as set

forth herein, Plaintiff has suffered damages which include emotional distress, pain and suffering,



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past and future wages and benefits, career damage and diminished career potential, mental

distress in the form of embarrassment, degradation and humiliation, increased anxiety, increased

difficulty sleeping, loss of enjoyment of life, and other nonpecuniary losses.

       171.     The conduct of Defendants was outrageous and evidences an evil motive or

reckless indifference for the rights of Plaintiff and the rights of others, entitling Plaintiff to an

award of punitive damages.

       WHEREFORE, Plaintiff requests that the Court enter judgment in his favor and against

the Defendants for economic damages, including, but not limited to: back pay, lost benefits, and

front pay, injunctive relief, compensatory damages, punitive damages, for reasonable attorneys’

fees and costs incurred herein, for pre- and post-judgment interest as allowed by law, and for

such other and further legal and equitable relief as this Court deems just and proper.

                                   COUNT VII
     42 U.S.C. § 2000e et seq. RETALIATION IN VIOLATION OF TITLE VII

       172.    Plaintiff hereby re-alleges and incorporate by reference the allegations contained

in the above-stated paragraphs as if fully set forth herein.

       173.    Plaintiff is a member of a protected class because of his race, African-American.

       174.    Plaintiff is a member of a protected class because of his color, dark skinned.

       175.    Plaintiff engaged in protected activity under Title VII by reporting discriminatory

treatment and remarks to his supervisors and human resources, informing Defendant of

inappropriate and harassing conduct.

       176.    Defendants took adverse actions against Plaintiff as a result of his engaging in the

aforementioned protected activity, including harassing and terminating Plaintiff.

       177.     Defendants’ actions constitute unlawful employment discrimination against

Plaintiff and is violation of Title VII as alleged herein.



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                                                                                                       Electronically Filed - Jackson - Kansas City - November 14, 2019 - 10:22 PM
          178.   As a direct and proximate result of the unlawful conduct of Defendants as set

forth herein, Plaintiff has suffered damages which include emotional distress, pain and suffering,

past and future wages and benefits, career damage and diminished career potential, mental

distress in the form of embarrassment, degradation and humiliation, increased anxiety, increased

difficulty sleeping, loss of enjoyment of life, and other non-pecuniary losses.

          179.   By failing to take prompt and effective remedial action, Defendants, in effect

condoned, ratified and/or authorized the discrimination against Plaintiff.

          180.   As shown by the foregoing, Defendants’ conduct was willful, wanton, and

malicious, and showed complete indifference to or conscious disregard for the rights of others,

including the rights of the Plaintiff, thus, justifying an award of punitive damages in an amount

sufficient to punish Defendants or to deter them and other companies from the conduct in the

future.

          WHEREFORE, Plaintiff requests that the Court enter judgment in his favor and against

the Defendants for economic damages, including, but not limited to: back pay, lost benefits, and

front pay, injunctive relief, compensatory damages, punitive damages, for reasonable attorneys’

fees and costs incurred herein, for pre- and post-judgment interest as allowed by law, and for

such other and further legal and equitable relief as this Court deems just and proper.

                            COUNT VIII
      DISPARATE TREATMENT BASED ON SEX IN VIOLATION OF TITLE VII

          181.   Plaintiff re-alleges and incorporates the allegations contained in above-paragraphs

as if fully set forth herein.

          182.   Upon information and belief, Plaintiff’s sex was a motivating factor in his

harassment and in the termination of his employment with Defendant.




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        183.    All actions or inactions of or by Defendant occurred by or through their owners,

agents, servants, or employees acting within the course and scope of their employment, as set

forth herein.

        184.    Defendant’s actions constitute unlawful employment discrimination against

Plaintiff in violation of Title VII as alleged herein.

        185.    As a direct and proximate result of the unlawful conduct of Defendant as set forth

herein, Plaintiff has suffered damages which include emotional distress, pain and suffering, past

and future wages and benefits, career damage and diminished career potential, mental distress in

the form of embarrassment, degradation, humiliation, anxiety, loss of enjoyment of life, loss of

sleep and other non-pecuniary losses.

        186.    The conduct of Defendant was outrageous and evidence an evil motive or reckless

indifference for the rights of Plaintiff and the rights of others, entitling Plaintiff to an award of

punitive damages.

        WHEREFORE, Plaintiff requests that the Court enter judgment in his favor and against

the Defendants for economic damages, including, but not limited to: back pay, lost benefits, and

front pay, injunctive relief, compensatory damages, punitive damages, for reasonable attorneys’

fees and costs incurred herein, for pre- and post-judgment interest as allowed by law, and for

such other and further legal and equitable relief as this Court deems just and proper.



                  Demand for Jury Trial and Designation of Place of Trial

     Plaintiff requests a trial by jury, in Kansas City, Missouri, on all counts and allegations of

    wrongful conduct alleged in this Petition.




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                                                                   Electronically Filed - Jackson - Kansas City - November 14, 2019 - 10:22 PM
                             Respectfully Submitted,

                             EDELMAN, LIESEN & MYERS, L.L.P.

                             /s/ Alexander Edelman __________
                             Alexander Edelman MO #64830
                             Sarah C. Liesen     MO #65331
                             sliesen@elmlawkc.com
                             208 W. Linwood Blvd.
                             Kansas City, Missouri 64111
                             Telephone: (816) 301-4056
                             Facsimile: (816) 463-8449

                             ATTORNEYS FOR PLAINTIFF




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                                                       1916-CV31081
                                                      EXHIBIT A




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                                                       1916-CV31081
                                                         EXHIBIT B




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                                                       1916-CV31081
                                                          EXHIBIT C




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                                    MISSOURI DEPARTMENT OF LABOR AND INDUSTRIAL RELATIONS                                                1916-CV31081
                              MISSOURI COMMISSION ON HUMAN RIGHTS EXHIBIT D
  MICHAEL L. PARSON                                ANN S. HUI                                             MARTHA STAGGS                                  ALISA WARREN, PH.D.
      GOVERNOR                                DEPARTMENT DIRECTOR                                        COMMISSION CHAIR                                EXECUTIVE DIRECTOR



September 16, 2019




                                                                                                                                                                                                             FE-3/19-30891
                                                                                                                                                                                Administrative Use/Records
Trevor R. Baston
11805 E. 83rd, Apt. 101
Raytown, MO 64138


                                              NOTICE OF TERMINATION OF PROCEEDINGS


RE:           Missouri
          Baston vs. St. Luke's Physician Group
          FE-3/19-30891 563-2019-01288

The Missouri Commission on Human Rights (MCHR) is terminating its proceedings and issuing this


            Commission on
notice of your right to sue under the Missouri Human Rights Act because you have requested a notice of
your right to sue.

This letter indicates your right to bring a civil action within 90 days of this notice against the respondent(s)
named in the complaint. Such an action may be brought in any circuit court in any county in which the
unlawful discriminatory practice is alleged to have occurred but it must be brought no later than two years


            Human Rights
after the alleged cause occurred or its reasonable discovery. Upon issuance of this notice, the MCHR is
terminating all proceedings relating to the complaint. No person may file or reinstate a complaint with the
MCHR after the issuance of a notice of right to sue relating to the same practice or act. You are hereby
notified of your right to sue the Respondent(s) named in your complaint in state circuit court. THIS MUST
BE DONE WITHIN 90 DAYS OF THE DATE OF THIS NOTICE OR YOUR RIGHT TO SUE IS LOST.

You are also notified that the Executive Director is hereby administratively closing this case and
terminating all MCHR proceedings relating to it. This notice of right to sue has no effect on the suit-filing
period for any federal claims. This notice of right to sue is being issued as required by Section 213.111.1,
RSMo, because it has been over 180 days after the filing of this complaint and MCHR has not completed
its administrative processing.



(continued on next page)




  3315 WEST TRUMAN BLVD., SUITE 212                111 N. 7TH STREET, SUITE 903                   1410 GENESSEE, SUITE 260                     106 ARTHUR STREET, SUITE D
           P.O. BOX 1129                            ST. LOUIS, MO 63101-2100                     KANSAS CITY, MO 64102-1047                     SIKESTON, MO 63801-5454
   JEFFERSON CITY, MO 65102-1129                      PHONE: 314-340-7590                            FAX: 816-889-3582                              FAX: 573-472-5321
        PHONE: 573-751-3325                             FAX: 314-340-7238
         FAX: 573-751-2905

      Missouri Commission on Human Rights is an equal opportunity employer/program. Auxiliary aides and services are available upon request to individuals with disabilities.
                                                       TDD/TTY: 1-800-735-2966 (TDD) Relay Missouri: 711
                                                 www.labor.mo.gov/mohumanrights            E-Mail: mchr@labor.mo.gov
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                                                                                                                                                                               Electronically Filed - Jackson - Kansas City - November 14, 2019 - 10:22 PM
                                               RE:        Baston vs. St. Luke's Physician Group
                                                         FE-3/19-30891 563-2019-01288


In addition to the process described above, if any party is aggrieved by this decision of the MCHR, that
party may appeal the decision by filing a petition under § 536.150 of the Revised Statutes of Missouri
in state circuit court.

Respectfully,




Alisa Warren, Ph.D.
Executive Director


St. Luke's Physician Group
4321 Washington, Suite 6100
Kansas City, MO 64111


Joe Pusateri, Director of HR
St. Luke's Physician Group
901 E. 104th Street
Kansas City, MO 64131


Jeffrey Hanslick
Littler Mendelson, PC
1201 Walnut Street, Sutie 1450
Kansas City, MO 64106


Edelman, Liesen & Myers, LLP
Renee Morrison
208 W. Linwood Blvd.
Kansas City, MO 64111
Via email




  3315 WEST TRUMAN BLVD., SUITE 212               111 N. 7TH STREET, SUITE 903                   1410 GENESSEE, SUITE 260                     106 ARTHUR STREET, SUITE D
           P.O. BOX 1129                           ST. LOUIS, MO 63101-2100                     KANSAS CITY, MO 64102-1047                     SIKESTON, MO 63801-5454
   JEFFERSON CITY, MO 65102-1129                     PHONE: 314-340-7590                            FAX: 816-889-3582                              FAX: 573-472-5321
        PHONE: 573-751-3325                            FAX: 314-340-7238
         FAX: 573-751-2905

     Missouri Commission on Human Rights is an equal opportunity employer/program. Auxiliary aides and services are available upon request to individuals with disabilities.
                                                      TDD/TTY: 1-800-735-2966 (TDD) Relay Missouri: 711
                                                www.labor.mo.gov/mohumanrights            E-Mail: mchr@labor.mo.gov
                     Case 4:20-cv-00106-SRB Document 1-1 Filed 02/14/20 Page 35 of 44
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                                                            EXHIBIT E




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                                                                              Case 4:20-cv-00106-SRB Document 1-1 Filed 02/14/20 Page 37 of 44
                        IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                             AT KANSAS CITY           AT INDEPENDENCE



RE:  TREVOR BASTON V SAINT LUKE¿S PHYSICIAN GROUP ET AL
CASE NO:  1916-CV31081


TO:     ALEXANDER EDELMAN
        EDELMAN LIESEN & MYERS LLP
        208 W LINWOOD BOULEVARD
        KANSAS CITY, MO 64111

We have received pleadings, which you submitted for filing in the case and they have been file-stamped on 11-14-19.
However, your pleading cannot be processed further until the following action is taken:

RULE 3.2 - STYLE                                                      RULE 68.7 – VITAL STATISTICS REPORT
  Additional service instructions are needed.                           Need Certificate of dissolution of marriage form.
  Incorrect case number/filed in wrong county.
  Document is unreadable.                                             RULE 74.14 SUPREME CT – FOREIGN JUDGMENT
                                                                        Authentication of foreign judgment required.
RULE 4.2 (2)                                                            Affidavit pursuant to Supreme Court Rule 74.14
  Need Circuit Court Form 4
                                                                      RULE 54.12 SERVICE IN REM OR QUASI IN REM
RULE 5.6 – COLLECTIONS OF DEPOSIT                                     ACTIONS
  No fee, or incorrect fee, received; fee required is $______.          Affidavit for Service by Publication required pursuant to
  Insufficient Filing Fee; Please Remit $______                          Supreme Court Rule 54.12c.
  No signature on check/form 1695.                                      Order for Service by Publication required pursuant to
  No request to proceed in forma pauperis.                               Supreme Court Rule 54.12c.
  No personal checks accepted.                                          Notice for Service by Publication required pursuant to
                                                                         Supreme Court Rule 54.12c.
RULE 68.1                                                               Affidavit for Service by Certified/Registered Mail
  Need Circuit Court Form 17                                             pursuant to Supreme Court Rule 54.12b.

   OTHER: Please remit your Motion and Order for Process Server. Any questions, please call Cheryl at 881-
1221.
   Please take the actions necessary to comply with the Circuit Court Rules and your request will be processed.
   The private process server listed is not on our approved list.
   Execution in effect. Return date _________. Request may be resubmitted within one week prior to return date.
   Supreme Court Rule 90.13 requires interrogatories be served with summons of garnishment.

If the filing was a new case, please be advised that unless the additional information marked is received within 30
days of the date of this notice this case will be dismissed pursuant to Rule 37.4 for failure to prosecute without
prejudice, at the Plaintiff’s cost. Collection efforts will be pursued for these costs.
Please refer to the Court’s website at www.16thcircuit.org for Court Rules or Forms.
Copies electronic noticed, faxed, emailed and/or mailed NOVEMBER 21, 2019 to:
                                                                        COURT ADMINISTRATOR’S OFFICE
                                                                       DEPARTMENT OF CIVIL RECORDS
                                                                  CIRCUIT COURT OF JACKSON COUNTY, MISSOURI


            NOVEMBER 21, 2019                                    By
                 Date                                                        Deputy Court Administrator
                                                                       415 East 12th St., Kansas City, Missouri 64106
                                                                       308 W. Kansas, Independence, Missouri 64050




                  Case
Case no. 1916-CV31081    4:20-cv-00106-SRB Document
                                               Page 1 of1-1
                                                        1   Filed 02/14/20 Page 38 of 44 DMSLCI5 (8/2014)
                                                                                                                        Electronically Filed - Jackson - Kansas City - December 02, 2019 - 09:28 AM
                                 IN THE CIRCUIT COURT OF JACKSON COUNTY
                                          AT KANSAS CITY, MISSOURI

 Trevor Baston                       )
         Plaintiff/Petitioner,       )
 VS.                                 )                 Case No.:1916-CV31081
                                     )
                                     )                 Division No.:11
          Defendant/Respondent.      )

                        MOTION FOR APPOINTMENT OF PRIVATE PROCESS SERVER
 COMES NOW Plaintiff, by and through counsel, and pursuant to Local Rule 4.9 of Jackson County Court Rules, hereby
 moves for the appointment of HPS Process Service & Investigations, Inc.:
Jan Adams               PPS19-0001       Gary Chatham            PPS19-0039     Charles R Gunning          PPS19-0063
Michelle L Adams        PPS19-0002       Glen Cobb               PPS19-0040     Darnell Hamilton           PPS19-0076
Roger Adams             PPS19-0003       Kenneth V Condrey       PPS19-0041     Kimberly Hamilton          PPS19-0077
Bobby Ali               PPS19-0004       Sharon R Condrey        PPS19-0042     Alan Hancock               PPS19-0078
Lakeita Allen           PPS19-0005       Kathleen Cook           PPS19-0043     Eric Hann                  PPS19-0079
Sandra M Allen          PPS19-0006       William R Cooper        PPS19-0044     Timothy S Hansen           PPS19-0080
Victor Aponte           PPS19-0007       Catherine Cornellier    PPS19-0045     Christy Hartline           PPS19-0081
Joshua Aragon           PPS19-0008       Wilberto Correa         PPS19-0046     Larry Haynes               PPS19-0082
Brandon Aschenbrenner   PPS19-0009       Alterick S Davenport    PPS19-0047     Douglas E Hays             PPS19-0083
Erica Austin            PPS19-0010       Duane D Day             PPS19-0048     Grace Hazell               PPS19-0084
Kali A Baltazar         PPS19-0011       Gerald Deadwyler        PPS19-0049     Richard P Heimerich, Jr.   PPS19-0085
Joseph L Baska          PPS19-0012       Robert E Delacy, III    PPS19-0050     Stephen Heitz              PPS19-0086
Carrington L Bell       PPS19-0013       Robert E Delacy, Jr.    PPS19-0051     Charles Helms              PPS19-0087
George Bell             PPS19-0014       Dominic DellaPorte      PPS19-0052     Austen Hendrickson         PPS19-0088
Ryan Black              PPS19-0015       Ricardo Delpratt        PPS19-0053     Wendy L Henrich            PPS19-0089
Shanna Blackwell        PPS19-0016       John Dippenworth        PPS19-0064     Jesse J Hernandez          PPS19-0090
Dianna J Blea           PPS19-0017       Alexander C Djaine      PPS19-0065     Michael Hibler             PPS19-0091
Richard J Blea          PPS19-0018       Claudia A Dohn          PPS19-0066     Anthonio Hightower         PPS19-0092
Robert Blixt            PPS19-0019       Dale Dorning            PPS19-0067     Wendy K Hilgenberg         PPS19-0238
Brent Bohnoff           PPS19-0020       Jadeena Earle           PPS19-0068     James M Hise               PPS19-0093
David Braxton           PPS19-0021       Abel A Emiru            PPS19-0069     Gary F Hodges              PPS19-0094
Charles Bridges         PPS19-0022       David S Felter          PPS19-0070     Brian K Hollen             PPS19-0095
Donnie C Briley         PPS19-0023       William F Ferrell       PPS19-0228     Bob Holyk                  PPS19-0096
Kathy A Broom           PPS19-0024       Robert D Finley         PPS19-0071     Roman Holyk                PPS19-0097
Dan Brouillete          PPS19-0025       Travis Foster           PPS19-0072     Ulonda G Howard            PPS19-0098
Douglas S Brower        PPS19-0026       Christopher Fowler      PPS19-0073     Martin J Hueckel           PPS19-0099
Kelley Brown            PPS19-0028       James Frago             PPS19-0074     William B Humble           PPS19-0100
Kenneth H Brown, Jr.    PPS19-0027       John Frago              PPS19-0075     George Illidge             PPS19-0101
Nicholas R Bull         PPS19-0029       Andrew L Garza          PPS19-0231     Frank James                PPS19-0102
Jarrett M Bullock       PPS19-0030       Louis Gerrick           PPS19-0054     Matthew J Jankowski        PPS19-0103
Ashley Bumgardner       PPS19-0031       Matthew Gilmore         PPS19-0055     Betty A Johnson            PPS19-0104
James Burke             PPS19-0032       Steven D Glenn          PPS19-0056     Christina M Johnson        PPS19-0105
Randy D Burrow          PPS19-0033       Ronda Godard            PPS19-0057     Edward Johnson             PPS19-0106
Gary Burt               PPS19-0034       Adam Golden             PPS19-0058     Randy Johnson              PPS19-0107
William J Caputo        PPS19-0035       Bradley Gordon          PPS19-0059     Michael A Jones            PPS19-0108
Charles Casey           PPS19-0036       Tom Gorgone             PPS19-0060     Haile Kahssa               PPS19-0109
George L Castillo       PPS19-0037       Gabriella Gourdin       PPS19-0061     Kenneth J Kearney          PPS19-0110
Sonja R Chailland       PPS19-0038       Christina M Gregory     PPS19-0062     Michael Keatina            PPS19-0111




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Gerald Keeley          PPS19-0112   Randy Rober            PPS19-0150   Elmer W Wilson           PPS19-0208
Wyman T Kroft          PPS19-0113   David M Roberts        PPS19-0336   Mitch A Wirth            PPS19-0209
Jeff Kuenzi            PPS19-0114   Patricia Roberts       PPS19-0337   Deborah Woodhouse        PPS19-0210
Jo Ann Lane            PPS19-0115   Richard Robex          PPS19-0151   Jerry Wooten             PPS19-0211
John M Laukaitis       PPS19-0116   Jery Robinson          PPS19-0152   Edwin E Young            PPS19-0212
Joshua Lee             PPS19-0117   Antonio Roque          PPS19-0153   Sarah Zirakian           PPS19-0213
Rick V Leeds           PPS19-0118   Ethel A Ross           PPS19-0154   Felycia Aranda           PPS19-0533
Kristie S Lewis        PPS19-0119   Richard C Ross         PPS19-0155   Mark Avery               PPS19-0534
John D Lichtenegger    PPS19-0120   Edna Russell           PPS19-0156   Teresa Bailly            PPS19-0535
Bert Lott              PPS19-0121   Mark Russell, Jr.      PPS19-0157   Mike Barry               PPS19-0536
Robert Manning         PPS19-0123   John T Sadler, Jr      PPS19-0167   Robert Bassler           PPS19-0537
Roger Martucci         PPS19-0124   Ligno Sanchez          PPS19-0168   Laura Beckham            PPS19-0538
William Lu Maye        PPS19-0122   Virginia L Saxon       PPS19-0169   Ann Bollino              PPS19-0539
Michael J McMahon      PPS19-0125   Nathaniel Scott        PPS19-0170   Joshua Brown             PPS19-0540
Jerry Melber           PPS19-0126   Joe Sherrod            PPS19-0171   Maurice Burton, Sr.      PPS19-0541
Arsalan Memon          PPS19-0127   Cory Shields           PPS19-0172   Anna Canole              PPS19-0542
Jenna Mendoza          PPS19-0128   Mark O Shiver          PPS19-0173   Trenia Cherry            PPS19-0543
Matthew A Millhollin   PPS19-0129   Eric Shumate           PPS19-0174   John R Choate            PPS19-0544
Vivian G Mitchell      PPS19-0130   Andrew Siteps          PPS19-0175   Rick M McClain           PPS19-0545
Carlos A Moreno        PPS19-0131   Jeremy S Small         PPS19-0176   John A Clor              PPS19-0546
Kelly Murski           PPS19-0132   Bryan Smith            PPS19-0177   Kathleen V Clor          PPS19-0547
Andrew Myers           PPS19-0263   Monica Smith           PPS19-0178   Emma Cole                PPS19-0548
Frederick M Myers      PPS19-0264   Timofey A Somoylenko   PPS19-0179   Theodore Cordasco        PPS19-0549
James G Myers          PPS19-0265   Anthony Spada          PPS19-0180   Karen Crohan             PPS19-0550
Stephanie Myers        PPS19-0266   Melissa Spencer        PPS19-0181   Laura Crum               PPS19-0551
Paul Nardizz           PPS19-0133   Jamie P Stallo         PPS19-0182   Bryce E Dearborn         PPS19-0552
Wendy Neff             PPS19-0134   Marc A Starks          PPS19-0183   Kathleen DiNunno         PPS19-0553
Jillian Newkirk        PPS19-0135   Barbara J Stelc        PPS19-0184   Dennis Duflinger         PPS19-0554
Brian Newton           PPS19-0136   Kelvin Stinyard        PPS19-0185   Donald C Eska, Jr.       PPS19-0555
Jeremy L Nicholas      PPS19-0268   Randy Stone            PPS19-0186   Leticia Estrada          PPS19-0556
Michael Noble          PPS19-0137   Haley Stratton         PPS19-0187   Robert D Fairbanks       PPS19-0557
Trinity Olson          PPS19-0138   Berham B Tassaw        PPS19-0188   Flojetta Fitzgerald      PPS19-0558
John Pappas            PPS19-0139   Jeffrey Teitel         PPS19-0189   Stephen H Folcher        PPS19-0559
Cynthia Paris          PPS19-0140   Perry Thomas           PPS19-0190   Christine Foran          PPS19-0560
George R Perry, Jr.    PPS19-0142   Robert H Thomas        PPS19-0191   Ryan D Fortune           PPS19-0561
Janet R Perry          PPS19-0141   William W Thomas       PPS19-0192   Richard Gerber           PPS19-0562
Kacie Phelps           PPS19-0143   Vanessa Thompson       PPS19-0193   Paul Gizel               PPS19-0563
Vincent Piazza         PPS19-0158   Christina Tiffany      PPS19-0194   Sinai Gonzalez           PPS19-0564
Timothy Pinney         PPS19-0159   Gabriel E Tranum       PPS19-0195   David Hahn               PPS19-0565
Jason S Plumley        PPS19-0160   Jacob Tranum           PPS19-0196   Anthony Hatcher          PPS19-0566
Craig Podgurshi, Jr    PPS19-0161   Paul G Turpen          PPS19-0197   Frances Hatcher          PPS19-0567
Rocellious D Pope      PPS19-0162   Margarita Vasquez      PPS19-0198   Erich T Hein             PPS19-0568
Anastasia Quinquit     PPS19-0163   Robert E Vick, II      PPS19-0199   Leonard Horseman         PPS19-0569
Charles J Reardon      PPS19-0164   Kasey Vink             PPS19-0200   Donna Jo King            PPS19-0570
Derek L Reddick        PPS19-0165   Brad Votaw             PPS19-0201   Mike Johnson             PPS19-0571
Angela Reed            PPS19-0166   Ambiko Wallace         PPS19-0202   Louis Jones              PPS19-0572
Christopher Reed       PPS19-0145   Daniel R Ward          PPS19-0203   Samuel Jones, Jr.        PPS19-0573
Edward Reed            PPS19-0146   Vancem Warrem, Sr.     PPS19-0204   Jeff Keyton              PPS19-0574
Ernie Rice             PPS19-0147   Kaylan Welborn         PPS19-0205   Kenneth J. Klewicki      PPS19-0575
Karen L Rice           PPS19-0148   Gregory M Willing      PPS19-0206   Thomas R. Kroll          PPS19-0576
Debra Rios             PPS19-0149   Deborah A Wilson       PPS19-0207   Robert G. Maliuuk, Jr.   PPS19-0577




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                                                                                                                             Electronically Filed - Jackson - Kansas City - December 02, 2019 - 09:28 AM
Matthews J Manlich     PPS19-0578          Gregory Piazza          PPS19-0593         Walter Thomas           PPS19-0608
David Martin           PPS19-0579          Brian T Pierce          PPS19-0594         Stephen M Troutz        PPS19-0609
Michael Meade          PPS19-0580          John Pontry             PPS19-0595         Michele VonEisengrein   PPS19-0610
Eric Mendenhall        PPS19-0581          Nancy Porter            PPS19-0596         Joseph T Wachowski      PPS19-0611
James O Miller, Jr.    PPS19-0582          Andre S Powell          PPS19-0597         Michael Walton          PPS19-0612
Chris Miranda          PPS19-0583          Galen Quinn             PPS19-0598         Roger White             PPS19-0613
Carla Monegain         PPS19-0584          Cheryl R Richey         PPS19-0599         Ann Wixom               PPS19-0614
Emmanuel F Morales     PPS19-0585          Eric Rubin              PPS19-0600         Sandra Yade             PPS19-0615
Michael S Morison      PPS19-0586          Melissa Ruiz            PPS19-0601         Niel Young              PPS19-0616
Ly Nguyen              PPS19-0587          Lee H Russell           PPS19-0602         Gina Zappia             PPS19-0617
Keith Niziankiewicz    PPS19-0588          Barbara Scott           PPS19-0603         Kim Zappia              PPS19-0618
Craig Palmer           PPS19-0589          Steven Stosur           PPS19-0604         Richard Zechiel         PPS19-0619
Douglas W Patterson    PPS19-0590          Michael Talone          PPS19-0605         Dennis Dahlberg         PPS19-0691
Jaron Perkins          PPS19-0591          Lisa Thomas             PPS19-0606
Terrance Perry         PPS19-0592          Scott L Thomas          PPS19-0607
 as private process servers in the above-captioned matter. In support of said motion, Plaintiff/Petitioner states that the
 above-named individuals are on the Court’s list of approved process servers and the information contained in their
 applications and affidavits on file is current and still correct.
                                                                   Respectfully Submitted,
                                                                   /s/ Sarah C. Liesen______________
                                                                   Plaintiff/Petitioner’s Signature

                           ORDER FOR APPOINTMENT OF PRIVATE PROCESS SERVER
 It is hereby ordered that Petitioner/Plaintiff’s Motion for Appointment of Private Process Server is sustained and the
 above named individuals are hereby appointed to serve process in the above captioned matter.

 DATE:                                                            ______________________________
                                                                  Judge or Circuit Clerk




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                        IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                             AT KANSAS CITY           AT INDEPENDENCE



RE:  TREVOR BASTON V SAINT LUKES PHYSICIAN GROUP ET AL
CASE NO:  1916-CV31081


TO:     ALEXANDER EDELMAN
        EDELMAN LIESEN & MYERS LLP
        208 W LINWOOD BOULEVARD
        KANSAS CITY, MO 64111

We have received pleadings, which you submitted for filing in the case and they have been file-stamped on 12-2-19.
However, your pleading cannot be processed further until the following action is taken:

RULE 3.2 - STYLE                                                      RULE 68.7 – VITAL STATISTICS REPORT
  Additional service instructions are needed.                           Need Certificate of dissolution of marriage form.
  Incorrect case number/filed in wrong county.
  Document is unreadable.                                             RULE 74.14 SUPREME CT – FOREIGN JUDGMENT
                                                                        Authentication of foreign judgment required.
RULE 4.2 (2)                                                            Affidavit pursuant to Supreme Court Rule 74.14
  Need Circuit Court Form 4
                                                                      RULE 54.12 SERVICE IN REM OR QUASI IN REM
RULE 5.6 – COLLECTIONS OF DEPOSIT                                     ACTIONS
  No fee, or incorrect fee, received; fee required is $______.          Affidavit for Service by Publication required pursuant to
  Insufficient Filing Fee; Please Remit $______                          Supreme Court Rule 54.12c.
  No signature on check/form 1695.                                      Order for Service by Publication required pursuant to
  No request to proceed in forma pauperis.                               Supreme Court Rule 54.12c.
  No personal checks accepted.                                          Notice for Service by Publication required pursuant to
                                                                         Supreme Court Rule 54.12c.
RULE 68.1                                                               Affidavit for Service by Certified/Registered Mail
  Need Circuit Court Form 17                                             pursuant to Supreme Court Rule 54.12b.

    OTHER: Please remit a new Motion and Order for Process Server listing the defendant. Any questions,
please call Cheryl at 881-1221.
    Please take the actions necessary to comply with the Circuit Court Rules and your request will be processed.
    The private process server listed is not on our approved list.
    Execution in effect. Return date _________. Request may be resubmitted within one week prior to return date.
    Supreme Court Rule 90.13 requires interrogatories be served with summons of garnishment.

If the filing was a new case, please be advised that unless the additional information marked is received within 30
days of the date of this notice this case will be dismissed pursuant to Rule 37.4 for failure to prosecute without
prejudice, at the Plaintiff’s cost. Collection efforts will be pursued for these costs.
Please refer to the Court’s website at www.16thcircuit.org for Court Rules or Forms.
Copies electronic noticed, faxed, emailed and/or mailed DECEMBER 9, 2019 to:
                                                                        COURT ADMINISTRATOR’S OFFICE
                                                                       DEPARTMENT OF CIVIL RECORDS
                                                                  CIRCUIT COURT OF JACKSON COUNTY, MISSOURI


             DECEMBER 9, 2019                                    By
                  Date                                                       Deputy Court Administrator
                                                                       415 East 12th St., Kansas City, Missouri 64106
                                                                       308 W. Kansas, Independence, Missouri 64050




                  Case
Case no. 1916-CV31081    4:20-cv-00106-SRB Document
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                                                        1   Filed 02/14/20 Page 42 of 44 DMSLCI5 (8/2014)
           IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

 TREVOR BASTON V SAINT LUKES PHYSICIAN GROUP ET                            Case Number: 1916-CV31081
 AL                                                                        DIV11


                            Notice of Case Management Conference
             Case Management Conference                   Plea Hearing         Pre-Trial          Other

     This is to notify you that a Case Management Conference will be held in the Circuit Court of Jackson
     County, Missouri, on February 19, 2020, at 1:30 p.m. in DIV11.



                                  Certificate of Mailing and/or Delivery

     This will certify that a copy of the foregoing was hand delivered/faxed/emailed/mailed and/or sent
     through the eFiling system to the following:

 ALEXANDER EDELMAN, Attorney for Plaintiff, EDELMAN LIESEN & MYERS LLP, 208 W LINWOOD
 BOULEVARD, KANSAS CITY, MO 64111; aedelman@elmlawkc.com




      DECEMBER 17, 2019
        Date                                             Division 11 Law Clerk




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                 Case 4:20-cv-00106-SRB Document 1-1 Filed 02/14/20 Page 43 of 44
                IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                             AT KANSAS CITY, MISSOURI


TREVOR BASTON                                            )
                                                         )
                          Plaintiff,                     )
                                                         )    Case No: 1916-CV31081
vs.                                                      )    Division 11
                                                         )
SAINT LUKE¿S PHYSICIAN GROUP, INC.                       )
                                                         )
                          Defendant(s).                  )

                           JUDGMENT OF DISMISSAL PURSUANT
                                  TO 16TH CIRCUIT RULE 37.4


UPON FULL CONSIDERATION, and being fully advised in the premises, the Court, on its
own motion, dismisses the above-captioned case       with /     without prejudice for failure to
prosecute pursuant to 16th Circuit Rule 37.4.

          WHEREFORE, IT IS ORDERED, that this case is dismissed in its entirety          with /
      without prejudice, at Plaintiff’s cost.


         JANUARY 27, 2020
             DATE                               JUDGE GEORGE EDGAR WOLF
                                                        Division 11
Certificate of Service
This is to certify that a copy of the foregoing was hand delivered/faxed/emailed/mailed and/or
sent through the eFiling system to the following on 27th day of January, 2020.

ALEXANDER EDELMAN, EDELMAN LIESEN & MYERS LLP, 208 W LINWOOD
BOULEVARD, KANSAS CITY, MO 64111



Judicial Administrative Assistant/Law Clerk




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